      Case 20-01312-dd            Doc 22 Filed 06/29/20 Entered 06/29/20 02:00:17                           Desc Ch 7
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                                               United States Bankruptcy Court
                                                  District of South Carolina



Case Number: 20−01312−dd                                        Chapter: 7

In re:
 Alexandra Candela Whittle
                                                                                                      Filed By The Court
  Entered By The Court ORDER DISCHARGING DEBTOR(S) AND TRUSTEE AND CLOSING                                  6/29/20
         6/29/20                            THE CASE                                                     Laura A. Austin
                                                                                                          Clerk of Court
                                                                                                       US Bankruptcy Court



The trustee, having certified that the estate of the above−named debtor(s) has been fully administered, and it appearing that the
debtor(s) having met the requirements for discharge under 11 USC § 727,

1. The debtors(s), Alexandra Candela Whittle, are granted a discharge;

2. The trustee is discharged as the trustee of this case; and

3. The chapter 7 case of the above−named debtor(s) is closed.
   IT IS SO ORDERED.




                                                                 United States Bankruptcy Judge




                             SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION
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Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,        This order does not prevent debtors from paying
and it does not determine how much money, if          any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                  debts according to the reaffirmation agreement.
                                                      11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any             Most debts are discharged
attempt to collect a discharged debt from the         Most debts are covered by the discharge, but not
debtors personally. For example, creditors            all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,       personal liability for debts owed before the
or otherwise try to collect from the debtors          debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise      Also, if this case began under a different chapter
in any attempt to collect the debt personally.        of the Bankruptcy Code and was later converted
Creditors who violate this order can be required      to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.           are discharged.

However, a creditor with a lien may enforce a         In a case involving community property: Special
claim against the debtors' property subject to that   rules protect certain community property owned
lien unless the lien was avoided or eliminated.       by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to         not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

Some debts are not discharged                         Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:        agreement are not discharged.

     ♦ debts that are domestic support                In addition, this discharge does not stop
       obligations;                                   creditors from collecting from anyone else who is
                                                      also liable on the debt, such as an insurance
                                                      company or a person who cosigned or
     ♦ debts for most student loans;                  guaranteed a loan.


     ♦ debts for most taxes;
                                                       This information is only a general summary
     ♦ debts that the bankruptcy court has             of the bankruptcy discharge; some
       decided or will decide are not discharged       exceptions exist. Because the law is
       in this bankruptcy case;                        complicated, you should consult an
                                                       attorney to determine the exact effect of the
                                                       discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.
